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                           13

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                                                                  UNITED STATES DISTRICT COURT
                           15
                                                                 NORTHERN DISTRICT OF CALIFORNIA
                           16

                           17
                                   hiQ Labs, Inc.                                       Case No. 3:17-cv-03301-EMC
                           18
                                                    Plaintiff,                          DECLARATION OF MARK WEIDICK IN
                           19                                                           SUPPORT OF HIQ’S RENEWED
                                          vs.                                           MOTION FOR TEMPORARY
                           20                                                           RESTRAINING ORDER
                                   LinkedIn Corp.
                           21
                                                    Defendant.                          The Hon. Edward M. Chen
                           22
                                                                                        Date:     June 29, 2017
                           23                                                           Time:     1:30 P.M.
                                                                                        Location: Courtroom 5, 17th Floor
                           24                                                                     450 Golden Gate Ave.
                                                                                                  San Francisco, CA 94102
                           25

                           26 I, Mark Weidick, declare as follows:

                           27             1.        I am the Chief Executive Officer of hiQ Labs, Inc. (“hiQ”). The facts stated in this
                           28 declaration are based on my personal knowledge, discussions with company personnel and my
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235 Montgomery Street, 17 Floor
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                                   DECLARATION OF MARK WEIDICK ISO hiQ’S                      *Affiliation noted for identification purposes only.
                                   RENEWED MOTION FOR TRO                                                                          34556\6004725.2
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                              1 review of records kept in the ordinary course of business. I could and would testify truthfully to

                              2 these facts, under oath, if required.

                              3          2.     I joined hiQ as its Chief Executive Officer on February 14, 2017. My

                              4 responsibilities include understanding our business, setting strategy, allocating resources, making

                              5 key executive decisions, delivering results agreed upon with hiQ’s Board of Directors, and

                              6 managing the entire hiQ team, which includes our technology, marketing, sales, finance, and other

                              7 personnel. I also interface with venture capitalists and other financers, meet with customers,

                              8 partners, industry analysts, and report to our Board of Directors.

                              9          3.     hiQ was founded in 2012 as OrgStars Inc. to apply predictive data science to issues

                           10 related to a company’s workforce. OrgStars changed its name to hiQ Labs, Inc. on May 23, 2014.

                           11 Since its founding, hiQ has raised $14.5 million in two rounds of funding. hiQ currently has 23

                           12 employees, the majority of whom are in its San Francisco office. 11 have advanced degrees,

                           13 including several Ph.Ds.

                           14            4.     hiQ performs scientific, computerized analyses of public profile information

                           15 available on the website www.linkedin.com (“LinkedIn website”). hiQ built its business on public

                           16 profiles because they were described by LinkedIn as being public and accessible to everyone,

                           17 whether LinkedIn members or not. Relying on this representation, hiQ has spent millions of

                           18 dollars and thousands of hours investing in its business and developing its data science and
                           19 analysis technology. Using the public profile information available on the LinkedIn website, hiQ

                           20 produces and sells to Fortune 500 companies two data science based “people analytics” services

                           21 that provide insights into a company’s workforce: Keeper and Skill Mapper.

                           22            5.     Keeper analyzes and predicts the retention risk—i.e. the risk of an employee being

                           23 recruited away—for the employees of a given employer, and indicates which employees are at

                           24 greatest risk of being recruited away. Employers can then develop action plans for retaining its

                           25 talent, including, for example, by providing an employee who is at high risk of leaving a career

                           26 development opportunity or bonus to stay.

                           27            6.     Skill Mapper aggregates and summarizes the breadth and depth of the skills

                           28 possessed by an employer’s workforce by analyzing all of the skills its employees list on the
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                              1 LinkedIn website, including those skills acquired from previous positions. Using this information,

                              2 employers can build succession plans, drive employee engagement, promote internal mobility, and

                              3 reduce costs associated with external talent acquisition. For example, employers can identify

                              4 areas where their employees lack depth in a particular skill area of value and offer training to its

                              5 employees to make up for that deficit.

                              6          7.     hiQ believes that its services are synergistic to LinkedIn’s goals, as they help

                              7 LinkedIn’s members maximize their professional and business opportunities.

                              8          8.     hiQ uses a variety of software and manual means to gather the raw data it needs to

                              9 analyze in order to provide Keeper and Skill Mapper for its clients. All of these means access

                           10 only the public profile section of the LinkedIn website; none of these means access any private

                           11 sections of LinkedIn, such as profile information visible only to those who are signed-in to the

                           12 LinkedIn website, or member private data that can be viewed only by those who are “connected”

                           13 in LinkedIn to that member.

                           14            9.     hiQ does not offer a social networking platform and never republishes the public

                           15 profile information it gathers for its Keeper and Skill Mapper services. Instead, such information

                           16 is analyzed using hiQ’s analytical systems and developed into new business intelligence for its

                           17 clients.

                           18            10.    Current customers of hiQ include eBay, Capital One, and GoDaddy. hiQ also has
                           19 prospective deals with Bank of New York Mellon, Chevron, Groupon, Honeywell, IBM, Visier,

                           20 and Jobvite.

                           21            11.    LinkedIn has known of hiQ since at least October 2015, when it started

                           22 participating in hiQ’s Elevate conference.

                           23            12.    hiQ’s Elevate conference is designed to build a community around the emerging

                           24 field of people analytics and has provided a regular forum for participants to share insights and

                           25 disseminate best practices. During these Elevate conferences, hiQ has openly discussed its

                           26 business model, growth, expansion, and its collection and use of public profile information from

                           27 the LinkedIn website.

                           28            13.    LinkedIn has sent representatives to Elevate conferences starting in October 2015.
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                              1 Since then, at least ten different LinkedIn representatives have attended the Elevate conference,

                              2 and many of those LinkedIn employees attended multiple times. LinkedIn has also spoken at

                              3 Elevate conferences. In 2016, hiQ awarded its Elevate “Impact Award” to LinkedIn employee

                              4 Lorenzo Canlas, who applied for the award, attended the conference, and accepted the award. At

                              5 that conference, Mr. Canlas delivered a PowerPoint presentation on the power of talent analytics.

                              6 The title slide from his presentation is emblematic of the cooperation between our companies:

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                           15            14.    I am informed and believe that in late 2016 and early 2017, hiQ’s previous CEO,
                           16 my predecessor, held a series of in-person meetings with LinkedIn personnel. I am further

                           17 informed and believe that during these meetings, he advised LinkedIn of hiQ’s active customer

                           18 relationships.
                           19            15.    I was surprised to receive LinkedIn’s cease-and-desist letter dated May 23, 2017, a
                           20 true and correct copy of which is attached as Exhibit J to hiQ’s Renewed Motion for Temporary

                           21 Restraining Order. LinkedIn did not provide any warning or suggest to hiQ that it disapproved of

                           22 hiQ’s business. LinkedIn has never hinted to hiQ that LinkedIn believes hiQ’s access harms

                           23 LinkedIn or its members. At all times before receiving the cease-and-desist letter, hiQ believed

                           24 that LinkedIn approved of its activities.

                           25            16.    After receiving the cease-and-desist letter, hiQ learned that LinkedIn had taken
                           26 down hiQ’s company profile from LinkedIn, had terminated its LinkedIn membership, and had

                           27 purported to deauthorize hiQ’s access to all LinkedIn profile pages, including those that LinkedIn

                           28 members have explicitly made public and which LinkedIn tells its members will be accessible by
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                              1 members and non-members alike.

                              2            17.    hiQ’s entire business depends on being able to access public LinkedIn member

                              3 profiles. hiQ has investigated and concluded that there is no current viable alternative to

                              4 LinkedIn’s member database to obtain data for hiQ’s Keeper and Skill Mapper services. Without

                              5 access to these profiles, hiQ cannot deliver its services; its contracts with existing customers will

                              6 be in jeopardy and hiQ will be prevented from consummating its pending deals with prospective

                              7 clients.

                              8            18.    hiQ is also in the middle of a pending financing round, which has been disrupted

                              9 due to LinkedIn’s actions.

                           10              19.    If LinkedIn continues to deny hiQ access to the public profiles on LinkedIn’s

                           11 website, hiQ will be forced to close its business and lay off most, if not all, of its employees. In

                           12 fact, hiQ has already started to lose employees as a result of LinkedIn’s cease-and-desist letter.

                           13 One of our employees recently resigned due to hiQ’s currently precarious position and uncertainty

                           14 over whether we will be able to continue operations.

                           15              20.    I retained counsel on behalf of hiQ on May 24, 2017 to guide hiQ through this

                           16 dispute with LinkedIn and authorized counsel to send a May 31, 2017 response letter to LinkedIn.

                           17 In that letter, hiQ informed LinkedIn that its conduct has endangered hiQ’s current contracts with

                           18 eBay, Capital One, and GoDaddy and others, and prospective deals with Bank of New York
                           19 Mellon, Chevron, Groupon, Honeywell, IBM, Visier and Jobvite, as well as the needed financing.

                           20              I declare under penalty of perjury under the laws of the United States that the foregoing is

                           21 true and correct. Executed June 22, 2017, at San Francisco, California.

                           22

                           23                                                                                                  _____
                                                                                                  MARK WEIDICK
                           24                                                                   Chief Executive Officer
                                                                                                    HiQ Labs, Inc.
                           25

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